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EXHIBIT G
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RHODE ISLAND DEPARTMENT OF CORRECTIONS

 

 

 

   

 

 

POLICY AND PROCEDURE
POLICY NUMBER: | EFFECTIVE DATE: PAGE 1 OF 18
15.01-6 DOC 11/24/14
SUPERSEDES: DIRECTOR: Please use BLUE ink.
15.01-5 DOC A 6 tT.
SECTION: SUBJECT:
CLASSIFICATION CLASSIFICATION PROCESS

 

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10 (22), Powers of the
director; § 42-56-20 (Care and employment of short term inmates); § 42.56-20.2(h); § 42-
56-21 (Labor of prisoners committed for criminal offense, qui tam, penal action, or
failure to give recognizance); § 42-56-29 (Receiving and orientation unit-Study of
incoming prisoners); § 42-56-30 (Classification Board); § 42-56-31 (Determination of
Classification and rehabilitation programs of prisoners; § 42-56-32 (Classification
Unit); § 19-19-2 (Selection Method and amount or term of punishment); § 31-27-2.2
(Driving under the influence of liquor or drugs, resulting in death)

 

REFERENCES: Rhode Island General Laws (RIGL) § 42-56-31 (Classification); § 42-
56-18 (Inmate furloughs); §42-56-21 (Work release); § 42-56-24 (Good behavior); § 42-
56-26 (Meritorious service); ACA standards 4-4288 (new inmates); 4-4295, 4-4296; 4-
4297, 4-4298, 4-4299 (class plan); 4-4300, 4-4301 (class review status); 4-4305 (special
needs inmates); Americans with Disabilities Act of 1990; Confidentiality of Health
Care Communication and Information Act, 5-37.3; RIDOC policies 9.34-4 DOG,
Confidential Security Risk Group (SRG) Inmates; 12.01-1 DOC, Protective Custody;
State v. Dowell, 623 A.2d 37 (R.I. 1993); State v. Bishop, 667 A.2d 275 (R.I. 1995);
DiCiantis v. A.T. Wall, 795 A.2d 1121 (R.I. 2002); State v. Graff, 17 A.3d 1005; PREA
Final Standards 115.41 Screening for risk of victimization and abusiveness; 115.42 Use
of screening information

 

INMATE / PUBLIC ACCESS? X YES

 

 

AVAILABLE IN SPANISH? X NO

 

 

L PURPOSE:

A. To provide a classification process that properly classifies inmates in accordance
with statutory requirements; and

 
 

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B. To specify the procedures to be followed by Rhode Island Department of
Corrections (RIDOC) staff to properly classify inmates to a status that best meets
the safety and security requirements of RIDOC and the treatment needs of the
inmate.

I. POLICY:

Classification is a process intended to promote staff, inmate and public safety. Hach
inmate under the statutory authority of the Director of Corrections shall be classified to the
most appropriate assignment for security and treatment needs-to-promote the effective
population management and preparation for release from confinement and subsequent
supervision. .

Til. PROCEDURES:
A. Definitions:

iL. Administrative Confinement: Category of inmates who because of their
pattern of conduct require, on a temporary basis, close restriction of
movement and closer supervision.

2 Classification: The ongoing process of collecting and evaluating information
about each inmate to determine the inmate's risk and needs level for
appropriate confinement location, treatment, programs and employment
assignment whether in a facility or community based program.

3. Close Restrictive/”C” Status: Category of inmates whose conduct indicates
a chronic inability to adjust to the general prison population, who require
maximum protection for themselves or others, or who constitute a threat to
the security of the institution.

4, Community Custody Program: Community Custody programs that include
Work Release and Community Confinement for those inmates who are in a
minimum custody level.

5. Disciplinary Confinement: a form of temporary separation from the general
population for those inmates who are found guilty of serious disciplinary
infractions; place of confinement to be designated by the Warden/ designee;
duration is commensurate with the seriousness of the offense, consistent
 

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with RIDOC’s Discipline Severity Scale; includes a loss of privileges and loss
of good time.

6. Discussion Hearing: A hearing conducted by the Associate Director of
Classification/ designee in order to review the Director's decision relating to
custody recommendation.

de Newly Sentenced Inmate: A newly sentenced inmate/parole violator
and/or Interstate Compact inmate who enters RIDOC under a new period
of commitment.

8. Override: A documented condition of fact warranting an increase or
decrease in the overall custody level of an inmate indicated by the scoring
instrument or from the Classification Board’s recommendation. Overrides
can be either mandatory (i.e. those governed by statute or Director's
mandate) or discretionary (i.e., done for a reason other than mandated by
law or the Director.)

9. Protective Custody: A form of separation from the general population for
inmates requiring additional protection from other inmates for reasons of

safety.

10. Reclassification: The process of periodically re-evaluating the inmate to
determine the inmate’s changing risk and needs level for appropriate
confinement location, treatment, programs and employment assignment
whether in a facility or community based program.

11. | Work Release Eligibility Date (WRED): Date used to determine when an
inmate may be eligible for consideration to be placed in Community
Custody. The WRED determination is based upon sentence received and
amount of time served in minimum custody.

B. Classification Management and Responsibilities:

L. Associate Director of Classification: shall be responsible for RIDOC’s
classification system. S/he shall develop a classification manual containing
detailed information concerning offender classification procedures which
shall be reviewed annually and updated as necessary. Responsibilities of
the Classification Unit shall include scheduling of all classification boards.
 

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2. Intake Service Coordinator: shall be responsible for administering the initial
classification procedures under this policy and shall serve as Chair of a
Classification Board as needed.

oi Coordinator of Counseling Services: shall be responsible for the supervision
of Adult Counselors to ensure policy compliance and coordination of the
Adult Counselors’ preparation and participation in the classification boards.

4. Program Services Officer: shall be responsible to serve as Chair of
Classification Boards as needed. Responsibilities include coordinating
review of all studies made of each sentenced inmate and coordinating
recommendations pertaining to classification custody level.

5. Adult Counselor: shall be responsible for reviewing the inmate’s record and
any additional information necessary to complete initial classification and
reclassification of inmates. Responsibilities also include reviewing
information relating to Classification and/or Reclassification Boards. Adult
Counselors present classification findings to Classification and
Reclassification Board members. Adult Counselor shall be responsible to
serve as Chair of Classification Boards as needed.

This policy shall not preclude the Director, Assistant Director of Institutions &
Operations (ADIO) and/or the Associate Director of Classification from
intervening in any classification decision at any time.

GC. Classification Board Process and Responsibilities

1. Membership: In order to regulate a system of classification of persons
committed to the custody of RIDOC, there shall be Classification Boards
(Boards) appointed by the Director. The Board shall be comprised of a
Chairperson and RIDOC staff. Each member of the Board shall have one (1)
equal vote. The Director also has the authority to establish additional
Boards to facilitate the classification system when deemed necessary.

2. Duties: The Board reviews all studies made of each sentenced inmate
during the period of point of commitment and from time to time thereafter
as shall be necessary. The Board also recommends to the Director/ designee
a classification custody level as well as a rehabilitation/treatment plan. If
the Director/designee disapproves the Board’s recommendation, s/he
requests the Board hold a Discussion Hearing for further study and review.
A Discussion Hearing is conducted by the Classification Board in order to

 
 

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review the Director’s decision relating to custody recommendation. The
Director/designee reviews the recommendations from the Discussion
Hearing and renders a final decision that is then implemented.

D. Classification Levels

1. Each sentenced male inmate shall be classified according to risk and needs,
and shall be assigned to one (1) of five (5) custody levels: High Security,
Maximum Security, Medium Security, Minimum Security or Community
Custody.

a. High Security is the highest security level; Maximum Security is a
close supervision custody level; Medium Security is a moderate
security level, Minimum Security is a low security level and
Community Custody is the lowest security classification level.

b. Minimum Security allows inmates to be placed in work assignments
in the public sector or to pursue education at an outside institution.
Community Custody allows inmates to work in the private sector.

Bi Each sentenced female inmate shall be classified according to risk and needs
and shall be assigned to one (1) of three (3) custody levels: Medium
Security, Minimum Security or Community Custody.

a. Medium Security is a moderate security level, Minimum Security is a
low security level and Community Custody is the lowest security
level.

b. Minimum Security allows inmates to be placed in work assignments
in the public sector. Community Custody allows inmates to work in
the private sector.

E. Admissions and Orientation (A&O)

1: Intake Service Center: Pursuant to Rhode Island General Laws § 42-56-29; §
42-56-30; § 42-56-31 and § 42-56-32, any sentenced male offender shall be
admitted to the Intake Service Center. An initial classification assessment is
conducted; the offender is classified and transferred to the appropriate
facility. The sentenced inmate shall also have a rehabilitative needs
assessment.
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Pu Gloria DiSandro McDonald Facility: Pursuant to Rhode Island General
Laws § 42-56-29; § 42-56-30; § 42-56-31 and § 42-56-32 any sentenced female
offender shall be admitted to this facility. A risk and comprehensive needs
assessment shall be completed over a period of thirty (30) business days.
Upon completion of the initial classification assessment, the offender shall be
classified and placed in an appropriate facility.

3. State law and federal court mandates: Upon completion of the initial
classification assessment, the inmate shall be classified and transferred to an
appropriate facility.

F, Administrative Transfer Process

de Males — The Intake Services Coordinator identifies those sentenced male
inmates serving a sentence of six (6) months or less and who are therefore
eligible for Administrative Transfer to a Minimum Security custody level.
The Intake Services Coordinator completes the Administrative Classification
Assessment-Males (Attachment 1) for each eligible sentenced male inmate.

Zs Females — In the Women’s Facilities, the Adult Counselor identifies those
sentenced female inmates serving a sentence nine (9) months or less and who
are therefore eligible for Administrative Transfer to a Minimum Security
custody level. The Adult Counselor completes the Administrative
Classification Assessment-Females (Attachment 2) for each eligible
sentenced female inmate.

3. When completed, the Administrative Classification Assessment Form is sent
to the Associate Director of Classification for approval or denial for eligible
sentenced male inmates and to the Warden Women’s Facilities for approval
or denial for eligible sentenced female inmates.

4. Inmates approved for Administrative Transfer are moved to the appropriate
facility. The Classification Office schedules those inmates denied
Administrative Transfer for an Initial Classification Board Hearing.

G. Initial Classification Review

Males - The Initial Inmate Custody Scoring Form (Attachment 3) is used to
determine the recommended custody level for each newly sentenced male inmate.
The Adult Counselor reviews the inmate’s record and completes the following
items on this form:

 
 

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Time remaining to good time release (GTR)/ parole eligibility date
History of institutional violence

Severity of current offense

Prior assault offense history

Escape history

Number of disciplinary reports

Most severe disciplinary report received

Prior felony convictions

Age

WP aANnATFWNP

The Adult Counselor shall complete the Classification Review Form (Attachment
5). The Adult Counselor shall also review the police reports (if available) and the
inmate’s assessment and treatment documents.

H. Inmate Needs Assessment

A Needs Assessment is used to determine the program and treatment needs for
each newly sentenced inmate. A risk and comprehensive needs assessment shall be
completed over a period of thirty (30) business days after sentencing to either the
Intake Service Center or the Gloria DiSandro McDonald Facility.

1. Males -- Assessment of inmate needs is the responsibility of Adult
Counselors in conjunction with the staff member responsible for the
training, monitoring and evaluation of the Level of Service Inventory-
Revised (LSI-R) for the Department.

a. All males sentenced to a term of nine (9) months to one (1) year shall
be administered the LSI-R Proxy Screening Tool.

b. Adult Counselors shall administer the LSI-R for males who have a
sentence of more than one (1+) year.

2. Females -- Female offenders who are serving a sentence of nine (9) months
or less are screened using the Women’s Risk Needs Assessment Screener
(WRNAS). Those offenders identified through the Screener as “high risk”
(those who receive a score of 9 or higher) are referred for an LSI-R and
Women’s Risk Needs Assessment (WRNA) also known as a “Trailer”.
Adult Counselors shall administer the LSI-R and WRNA to any female
offender sentenced to more than nine (9) months.
 

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L Scoring

Once the Adult Counselor has completed the Initial Classification Scoring Form
and the LSI-R (for sentenced men), or the WRNA (for sentenced women), s/he

recommends a custody level designation and prepares a case plan for presentation
to the Initial Classification Board (Initial Board).

L Recommendation and Approval Process

i, The Adult Counselor provides the Initial Board with the Initial Classification
Scoring form, the LSI-R or WRNA, and his/her custody recommendation
for its review. The Initial Board meets with the inmate and engages
him/her in a discussion about his/her classification and case management
plan. The Initial Board uses the LSI-R or WRNA as part of the case
management plan and as the basis on which to recommend programs,
priority of programs and order in which the programs should be taken. The
Initial Board may also consider factors (e.g., physical limitations) which
preclude housing in certain facilities.

Ze For sentenced male inmates, the Initial Board determines a High, Maximum,
Medium, or Minimum custody level and submits their determination to the
Associate Director of Classification for his/her approval.

a. For male inmates sentenced to nine (9+) or more years with a
recommendation of Minimum custody level, the Director has final
custody level approval.

b. For male inmates who are designated as “Security Risk Group”
(SRG) or “Protective Custody” (PC), the Assistant Director of
Institutions & Operations (ADIO) has final custody level approval as
delegated by the Director.

Cc. For all other male inmates, the Associate Director of Classification has
final custody level approval as delegated by the Director.

3. For sentenced female inmates, the Initial Board determines a custody level
of Medium or Minimum and submits their recommendation to the Warden
Women’s Facilities who has custody level approval as delegated by the
Director.
 

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a. For female inmates sentenced to nine (9+) or more years with a
recommendation of Minimum custody level, the Director has final
custody level approval.

b. For female inmates who are designated as Level I or Level II SRG, the
ADIO has final custody level approval.

Cc: For female inmates who have a sentence of less than nine (9) years, the
Warden Women’s Facilities has final custody level approval as
designated by the Director.

4, If the Director/ designee (as outlined above) agrees with the Initial Board’s
recommendation, the inmate’s custody level is finalized.

5. If the Director/ designee disagrees with the Initial Board’s recommendation,
the case is sent back to its members for a Discussion Hearing. The
Director/designee provides the Initial Board with written reasons for
his/her disagreement with their recommendation.

At the Discussion Hearing the Initial Board (the same Classification Board
members who made the initial/ original decision) is re-convened to consider
the Director/designee’s concerns and may either decide to alter its
recommendation to agree with the Director/designee’s determination or the
Initial Board may maintain its original recommendation.

The results of the Discussion Hearing are sent back to the Director/ designee
and s/he has the final decision-making authority to determine the inmate's
custody level designation. If the final decision deviates from the Initial
Board’s recommendation or from the Initial Inmate Custody Scoring Form
results, the reasons for the override are documented in the computer record.

K. Initial Classification Custody Level Designations

An inmate's initial custody level shall be determined based on the following
factors:

1. Minimum Custody Level
a: Classification Board recommendation

b, Sentence is five (5) years or less
 

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G; Classification Risk Assessment Score is 0 - 6 (males)
d. | WRNAscore of 19 - 37 — Minimum Security (females)
e, WRNA score of 0 - 18 -- Work Release (females)
2; Medium Custody Level
a, Classification Board recommendation
b. Sentence exceeds five (5+) years up to fifteen (15) years
G; Classification Risk Assessment Score is 7 - 16 (males)
d. | WRNAscore of 38 or higher -- Medium Security (females)
3. Maximum Custody Level
a. Classification Board recommendation
b. Sentence exceeds fifteen (15+) years, Life or Life without Parole
G. Classification Risk Assessment Score is 17+ (males)
4. High Custody Level
a. Classification Board recommendation
b. Sentence exceeds fifteen (15+) years, Life or Life without Parole
C. Risk Assessment Score is 17+
Ls Inmate Reclassification Review
Reclassification Board hearings are held at regular intervals and whenever
necessitated by a major change in an inmate’s programming and/or behavior.

Reclassification Board reviews help to ensure continuity in the treatment,
programming and custody level placement to meet the inmate's changing needs.
 

 

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1 Reclassification Scoring Instrument
a. The Adult Counselor reviews the sentenced male inmate’s record
and completes the Inmate Reclassification Custody Scoring Form
(Attachment 4).
b. The Adult Counselor reviews the sentenced female inmate’s record,

and updates the institutional record and program/treatment for
presentation to the Classification Board.

Cc. The Adult Counselor shall complete the Classification Review Form
(Attachment 5).

oa Reclassification Schedule

An inmate's classification is reviewed at least once every six (6) months or
annually depending on the time remaining to be served on his/her sentence.
Inmates are notified one (1) month in advance of their reclassification
hearing date. The reclassification schedule is determined by the following:

a. Inmates with five (5) years or less remaining until their good time
release (GTR) may be assigned a six (6) month review date.

b. Inmates with more than five (5+) years remaining until their GTR may
be reviewed on an annual basis.

a Scoring

Once the Adult Counselor has completed the Reclassification Scoring
Instrument, reviewed the LSI-R or WRNA and the inmate’s program
patticipation, s/he recommends a custody level designation to the

Reclassification Board.
4, Reclassification Custody Level Designations

An inmate’s reclassification custody level shall be determined based on the
following factors:

a. Minimum Custody Level

(1) Classification Board recommendation
 

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(2) Classification Risk Assessment Score is 0 - 8 (males)
(3) | WRNAscore of 19 - 37 -- Minimum Security (females)
(4) | WRNAscore of 0 - 18 — Work Release (females)

b. Medium Custody Level
(1) Classification Board recommendation
(2) Classification Risk Assessment Score is 9 - 18 (males)

(3) | WRNAscore of 38 or higher - Medium Security (females)

C. Maximum Custody Level
(1) Classification Board recommendation
(2) Classification Risk Assessment Score is 19+ (males)

(3) |WRNAscore of 44+ (females)

d. High Custody Level
(1) Classification Board recommendation
(2) Risk Assessment Score is 19+

5, Recommendation and Approval Process (Males)

a. The Reclassification Board reviews the Reclassification Scoring
Instrument, the LSI-R, and the custody recommendation that has
been provided by the Adult Counselor. The Reclassification Board
may also consider factors (e.g., physical limitations) which preclude
housing in certain facilities. The Reclassification Board then meets
with the inmate and engages him in a discussion about his
classification and case management plans.

b. The Reclassification Board determines a custody level of Community

Confinement, Minimum, Medium, Maximum, or High Security and
submits the determination to the Associate Director of Classification
 

 

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for approval. For male inmates sentenced to more than nine (9+) years
with a recommendation of Minimum custody level, the Director has
final custody level approval.

For male inmates who are designated as SRG or Protective Custody,
the ADIO has final custody level approval. For all other male
inmates, the Associate Director of Classification has final custody
level approval as delegated by the Director.

6. Recommendation and Approval Process (Females

a. The Reclassification Board reviews the Reclassification Scoring
Instrument, the WRNA, and the custody recommendation that has
been provided by the Adult Counselor. The Reclassification Board
may also consider factors (e.g., physical limitations) which preclude
housing in certain facilities. The Reclassification Board then meets
with the inmate and engages her in a discussion about her
classification and case management plans.

b. For female inmates sentenced to nine (9+) years or more with a
recommendation of a Minimum custody level, the Director has final
custody level approval. For female inmates who are designated as
Level I or Level II SRG, the ADIO has final custody level approval as
delegated by the Director. For female inmates who have less than
nine (9) years to serve, the Women’s Facilities Warden has final
custody level approval as delegated by the Director. If the
Director/designee agrees with the Reclassification Board’s
recommendation, the custody level designation is finalized.

c. If the Director/designee disagrees with the Reclassification Board's
recommendation, the case is sent back to the Reclassification Board
for a Discussion Hearing. The Director/designee provides written
reasons for his/her disagreement with the Reclassification Board's
recommendation.

d. At the Discussion Hearing, the Reclassification Board considers the
reasons for the Director’s disagreement with their recommendation
and may decide to alter their recommendation to agree with the
Director/designee’s determination or may maintain their original
recommendation.
 

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e. The results of the Discussion Hearing are sent back to the
Director/designee and s/he has final authority to determine the
inmate’s custody level designation. If his/her final decision deviates
from the Reclassification Board’s recommendation or from the
Reclassification Scoring Instrument results, the reasons for the
override are documented in the computer record.

M. Transfer of Inmates

Once the final approval and custody level designation is made for an inmate at
either an Initial or a Reclassification Hearing, the inmate is moved to the
appropriate facility for his/her custody level.

N. Immediate Review Dates

Significant changes in classification status may result in an immediate review and
may alter an inmate’s custody level and/or establish a six (6) month or an annual
review cycle. For example, an immediate review may be scheduled for any of the
following reasons:

Removal of an enemy issue

Change in SRG status

Parole release date

Parole eligibility date

Change in sentence (reduction or modification)

oP eh P

6. Removal of pending charges or an immigration Detainer
7. New charges
8. Significant discipline
a Program completion
10. Positive institutional record

Immediate review dates can be requested by staff or by an inmate by contacting the
Associate Director of Classification.

O. Custody Level Status/Changes
Based on all the information presented at an inmate’s regularly scheduled review,
the Reclassification Board determines if any changes in custody shall occur.

Determinations include:

1. Status quo: No change in custody level
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2. Increase: Higher level of supervision required
3. Decrease: Lower level of supervision required

P. High Security Custody Level/ Status Changes

1. Inmates who are approved for removal from Administrative or Disciplinary
Confinement are reduced to a lesser confinement status or a Maximum
custody level.

ae Inmates approved for removal from Close Restrictive (“C”) status are
reduced to a Maximum custody level.

3, No inmate is considered for a custody level reduction lower than Medium
without approval from the Director/ designee.

4. Inmates approved for removal from Protective Custody are reduced to any
custody level deemed appropriate with the proper evidence and
documentation to support the custody reduction.

QO. Maximum Custody Level/Status Changes

1. Inmates serving a sentence of Life without Parole (LWOP) are not
considered for a reduction to a Medium Custody level unless such
reclassification is needed for either security or clinical reasons. The decision
to reduce a LWOP inmate's classification to a Medium Custody level is the
exception rather than the rule and is made with consideration of either the
specific security or clinical issues that justify this change. The Director must
approve every decision to reclassify a LWOP inmate to a Medium Custody
level.

es Inmates serving a life sentence of LWOP are not considered for a Minimum
Custody level.

R. Reduction from Medium Custody Level

1. Inmates serving sentences of more than five (5+) years, and up to and
including ten (10) years, may be eligible for a reduction to a Minimum
custody level when they are parole eligible. Inmates with a sentence of more
than ten (10+) years, up to and including Life for Murder I and Murder II,
may be eligible for a reduction to a Minimum Custody level when they are
granted a parole release date by the Rhode Island Parole Board.

 
 

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2 Medium Custody level inmates are NOT eligible for a reduction to a
Minimum Custody level if one of the following circumstances exists:

a. Outstanding warrant(s)

b. Violent felony charges pending

Cc: Out-of-state detainers (Interstate Asieement on Detainers [IAD],
Interstate Compact Agreement)

d. ICE (immigration) Detainer

e, Sentence conviction: Sex offender (unless approved by the
Director/ designee)

S: Reduction from a Minimum Custody Level

1. The Work Release Eligibility Date (WRED) determines when the inmate is
eligible to be seen by a Reclassification Board for review and consideration
to a Community Custody level. To be considered eligible for this program:

a. An inmate cannot have a No Contact Order (NCO) regarding a
person or person(s) lodged against him/her

b. An inmate cannot have pending felony / misdemeanor charges

a An inmate must meet the eligibility criteria as defined in RIGL § 42-
56-20.2-1(h) if being considered for Home Confinement.

2. The Community Correctional Program for Women: Inmates being
considered for placement in the Community Correctional Program must
meet the criteria as defined in RIGL § 42-56-20.3 (b) Persons subject to this
section.

T. Community Custody Level

The Community Custody level provides an eligible inmate with the opportunity to
reintegrate into the community. Any inmate who refuses to participate in any
program assignment and/or work assignment consistent with the inmate's
assessed needs may be excluded from Community Custody placement until s/he
complies with the classification/case management assignment. Level I and Level
II SRG inmates are ineligible for Community Custody placement unless approved
by the Director/designee. Community Custody levels include Work Release and
Community Confinement.
 

 

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i. Work Release Program
a. The following rules apply to an inmate’s eligibility for Work Release:

(1) inmate must serve one-sixth (1/6) of his/her sentence to be
eligible for Work Release;

(2) no inmate serving a sentence after being convicted of a sex

offense involving minors shall be eligible for Work Release;
and

(3) no inmate serving a sentence of Life without Parole is eligible
for Work Release.

b. An inmate who has been convicted of a criminal offense may be
permitted to work at paid employment, voluntarily participate in
training or educational and other rehabilitative programs (in or out-
of-state) outside of the institution at any time and under any
conditions and restrictions as the Director/ designee may impose.

S An inmate’s WRED determines when an inmate is eligible for Work
Release. If an inmate is recommended for placement on Work
Release, the Classification Office shall immediately notify the following
individuals prior to the release of any inmate on Work Release.
(RIGL § 42-56-21.1):

(1) the victim of the crime the inmate committed, in homicide
cases, a member of the immediate family of the victim (if any
be identified);

(2) the police department in the community where the crime for
which the inmate was sentenced was committed;

(3) the police department in the community where the inmate
was residing at the time of the commission of the crime;

4 the police department in the community where the inmate
P P ty
will be working

d. Inmates may also be placed on Work Release pursuant to orders from
the court. Any inmate who is court-ordered to Work Release is
 

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Classification Process Page 18 of 18

 

subject to RIDOC's jurisdiction. [RIGL § 12-19-2 (b) (c) (d) and RIGL
§ 31-27-2.2]

Community Confinement Program

Any sentenced inmate committed under the direct care, custody and control
of the Department of Corrections may, at the discretion of the Director, be
classified to Community Confinement. This provision shall not apply to any
inmate whose current sentence was imposed upon conviction of Murder,
First Degree Sexual Assault, and/or First Degree Child Molestation. An
inmate’s WRED determines when an inmate is eligible to participate in the
Community Confinement program:

a. An inmate must be within six (6) months of the projected good time
release date, provided, that the inmate shall have completed at least
one-half (1/2) of the full term of incarceration.

b. Any inmate who is sentenced to a term of six (6) months or less of
incarceration, provided that the inmate shall have completed at least
three-fourths (3/4) of the term of incarceration.

If an inmate is recommended for placement on Community Confinement
and approved for such placement by the Director of Corrections, police
notification is required. The Director/ designee shall notify the appropriate
police department when a sentenced inmate has been placed on Community
Confinement. The notice includes the nature of the offense and the express
terms and conditions of the inmate’s confinement. This notice is also given
to the appropriate police department when an inmate on Community
Confinement is placed on escape status.

 
 

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Attachment 1
Page 1 of 1

RHODE ISLAND DEPARTMENT OF CORRECTIONS
ADMINISTRATIVE CLASSIFICATION ASSESSMENT - MALES

 

 

 

Inmate Name: ID #:
DOB: Charge:
Sentence: Date Imposed:

 

 

Instructions: Respond to each question below. If the answer to any one item is “yes,” you must check the box to
the left of the question. “Yes” responses indicate that the instrument recommends that the inmate is ineligible for
an administrative move to Minimum and should be referred to a Classification Board.

 

Mandatory Criteria: A “yes” response requires referral to Classification Board

oO _Has it been documented that the inmate is in a Security Risk Group?

O Does the inmate have a pending felony?

oO Does the inmate have an outstanding felony warrant from another jurisdiction?
© Does the inmate have an ICE detainer?

Discretionary Criteria

o —_Is the inmate currently in protective custody?

oO _Is the current sentence a highest or high severity offense?

o _Is the inmate a recidivist (5 or more prior felony incarcerations within the last 10 years)?

© Does the inmate have a history of institutional discipline (highest severity institutional booking within last
5 years)?

Does the inmate have a prior escape in the last 10 years?

Has the inmate been waived from Family Court/Training School?

o Does the inmate have mental health/ medical restrictions?

o0g

se

o Administrative Assessment Tool Allows for Transfer to MIN
4 Administrative Assessment Tool Recommends Referral to Classification Board

ss...

oO Administrative Transfer to MIN Recommended by Intake Services Coordinator
Oo _ Intake Services Coordinator Recommends Referral to Classification Board

If the recommendation of the Intake Services Coordinator differs from the Assessment Tool, please indicate the
recommendation is an override and specify the reason(s).

Oo Override Reason:

 

SSS

For Associate Director of Classification use only:

o Administrative Transfer Approved o Administrative Transfer Denied

 

Signature Date

 

 

 
 

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15.01-6 DOC
Attachment 2
Page 1 of 1

RHODE ISLAND DEPARTMENT OF CORRECTIONS
ADMINISTRATIVE CLASSIFICATION ASSESSMENT - FEMALES

 

 

 

Inmate Name: ID #:
DOB: Charge:
Sentence: Date Imposed:

 

 

Instructions: Respond to each question below. If the answer to any one item is “yes,” you must check the box to
the left of the question. “Yes” responses indicate that the instrument recommends that the inmate is ineligible for
an administrative move to Minimum and should be referred to a Classification Board.

Mandatory Criteria: A “yes” response requires referral to Classification Board

O Has it been documented that the inmate is in a Security Risk Group 1 or 2?

O «Does the inmate have a violent pending felony(s) or violent pending felony on PR?
& ——C Does the inmate have an outstanding felony warrant from another jurisdiction?

© _Does the inmate have an ICE detainer?

Discretionary Criteria

Oo _—- Does the inmate have a non-violent pending felony(s) or pending felony on PR?

Is the inmate currently in protective custody?

Is the current sentence a highest or high severity offense?

Is the inmate a recidivist (5 or more prior felony incarcerations within the last 10 years)?

Does the inmate have a history of institutional discipline (highest severity institutional booking within last
5 years)?

O -_— Does the inmate have a prior escape in the last 10 years?

oO Has the inmate been waived from Family Court/Training School?

o Does the inmate have mental health/ medical restrictions?

Oe;

ee

o Administrative Assessment Tool Allows for Transfer to MIN
oO Administrative Assessment Tool Recommends Referral to Classification Board

ee QQ

Oo Administrative Transfer to MIN Recommended by Deputy/ Warden
6 Administrative Transfer to Minimum denied by Deputy/Warden and referred to Classification Board

Reason:

 

TE

 

Deputy / Warden Signature Date
 

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RHODE ISLAND DEPARTMENT OF CORRECTIONS

INITIAL INMATE CLASSIFICATION CUSTODY SCORING FORM

NAME

15.01-6 DOC |
Attachment 3.
Page 1 of 3

 

Last First M.I. LD#
SENTENCED TO AS OF:

COUNSELOR: DATE:

D.O.B.

1. TIME REMAINING TO GOOD TIME RELEASE/PAROLE ELIGIBILITY SCORE “A” OR “B”

A. Non-Lifers
§ years or Less... .....---ceeecescesere resuenenennsnnconseneccernenssrssneses piasensneonaceceeues
More than 5 years and up to 10 years ..
More than 10 years and up to 20 years ..
More than 20 years .. wah

auUwe

B. Lifers
Parole eligible by Statnte svciscccsscosssacsvivevssecoseaucssecvssnmescsneusancssescansvenmaenniie
Not parole eligible by Statute :.........------seroccseevecsnserersensarsncnnensereanenssnnessess

no

2. HISTORY OF INSTITUTIONAL VIOLENCE
(Code most serious within last five years)

None .. 128 casnaesannnonsnpayenorsemetssasanesaseninnse O)
Assault and battery not involving u use of weapon 0 or
resulting in serious injury .. eer erere re rrinererereereneneentesss
Assault and battery involving u use Sof weapon ‘and/or
resulting in serious injury or death ...........cccseceeceeseceeceeeseeeeceeseseeenseeue cea eesewenss 7

3. SEVERITY OF CURRENT OFFENSE
(Refer to the Offense Severity Scale. Score the most serious offense if there are multiple
convictions)

Lia wilow: Modbrate: ..- cts ccsssccuccstcasvave ciaceysiesee vais cass aia iia duaweoeseaiaadseeeegaas
Wo derate ise icisccuccasciccavcevacsasadvevancacesievewestecsedases seats asendexmexenscevessntesve

ARN

4. PRIOR ASSAULTIVE OFFENSE HISTORY
(Score the most severe in inmate’s history within the last ten years)

None... ESRI DAR ESCURSEAAaS ORI Raabe inden aia cocmenteinanctsaesTRevasecaceseaee O
LowiModerdte :. en eee en ene ete ee etna eerste renee eeteeees 1
Moderate ... sD bate Sehuly sonia Lee vice aude ga cats neu SU AUUTSUREV a ToSEy auaUus Cu OU Sadie Mis taaNTee

5. ESCAPE HISTORY (Score both Categories)
No escapes or attempts (or no prior incarcerationS) ...........:scecceceseererreneeresee seen O

A. An escape or attempt from Minimum or Community Custody, no actual or
threatened violence:

Over 3 years ago but Jess than 10 years ............scecsseesseessseeeeeteseneeeneeneerseasene d
Over 1 year ago but less than 3 years ........ccccceeeesereeseceesancesseneeseeenersereeesseess D
With He Last fear sscsicsivssscecaseccnvsscesessrevssseonsexstusseereansanencerceesessevensecam 5

“A” Score

OR

“R” Score

Score

Score

Score

Score
 

 

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RHODE ISLAND DEPARTMENT OF CORRECTIONS 15.01-6 DOC
INITIAL INMATE CLASSIFICATION CUSTODY SCORING FORM Attachment 3

Page 2 of 3

B, An escape or attempt from Medium or above custody, or an escape from
Minimum or Community Custody with actual or threatened violence:

Over 3 years ago, but Jess than 10 years .........ccseseseseee see cer eee eeeeeeenenne ens renneeee 3
Over 1 year, but less than 3 years .............sesseessseesenerseesonennserscssneetecseesenses 5
Within the last year ..........0-.cccsceeesssesesesesnecesnesessseneeseneneterseeesc sense cancuens 7 Score

6. NUMBER OF DISCIPLINARY REPORTS

None in last 36 months ............cecececcccseeescneeesnescsseceunspeanteceseerscsesneeegenens
One tn Tas: 36 MONE siseicis ees eeriees sicccues tees scteccotesieacuisstavemiseererensees
Two to four in last 36 Months ..........2c0cceeeeeseeeeeeuseau ens cneeesereenesseeseeeeer ees
Five or more in last 36 montis. ....cccscceccdeessceccs cee ccsacscanescdevecseeasenedveceestes

Awe

Score

7. MOST SEVERE DISCIPLINARY REPORT RECEIVED (last 36 months)

Low. WModeralie sccscaveceicnis caaccecasecev ane ogsc tees ecccowit ek Vicia ives sees ctoneacwevvensed
ICIS rates eee een ee nn een y ee et ttrenttenr ere mnrretrcrttresttr este

 

Highest sossssssssvsosovevvosevovovssvesutinnsnonssssssussiannsssssseiitisumnseeesssiiees5 Soore
8. PRIOR FELONY CONVICTIONS
(Score prior felonies within last 10 years)

WOME ss ccscveadncececceaweaveceansscscssneneswerasesidecdecsnccnesnecsecensnvenersererseresss renee
TWO econ Ree aa sg eee ae ee RR aan Hawa esa nde ned nas Reaver a aR RAEN EES
"TTBS OF MOLE 20... ccecesecececucesecerscersennseesesesesrscerencrsenneseperssrceusessenananey

pRwWHOo

Score

9. AGE

__ Ape SQ and OVEr sicssccsssscceressaccesacsocsvsavscesersaanes coerenseneansersenesennereen
HABE 21629 oa sererenareneneennessnsnsapeneeersneeonnscsessenpsenbessessssatcasleabsvesesannn
Below: 2 cccsveassasecasaniateecssayea seu svisnveecumanscsaisearteneassnsssasaxwsneneae Score

_

Add items 1 through 9

Maximum/High 17+
Medium Custody 7-16
Minimum Custody 0-6 Total Score
 

 

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RHODE ISLAND DEPARTMENT OF CORRECTIONS it : es
INITIAL INMATE CLASSIFICATION CUSTODY SCORING FORM Page Sars
Instrument Scored Custody Level:
COUNSELOR’S
RECOMMENDATION MANDATORY/POLICY OVERRIDES
C.O. Court ordered custody level pursuant to RIGL S$ 12-19.2
Court Ordered Custody Level:
C.P. Inmate’s TOTAL SCORE is Minimum/Community Custody score, and has a
pending Felony, ICE, Out-of State Detainer.
(Override based on above automatic Medium placement) YES
M.P.O. Mandatory Policy Override pursuant to policy 15.01-1 DOC YES
Mandatory Custody Override:
Counselor’s signature Date:
DISCRETIONARY OVERRIDE
MED Medical PRO Program Participation
BOARD’S MEN Mental Health GTR. Within 6 months of Good Time Release
RECOMMENDATION | PC Protective Custody PRD Granted advance paroled release date
DIR Director
Comments:
Board’s Recommended Custody Level:
Chairperson’s Signature: Date:
Next Review Date:
Custody Level: Approved. Denied
DIRECTOR’S
DECISION Comments:
Custody Level:
Authorized Signature: Date:
DISCUSSION OF DENIAL
Discussion Date: Recommendation;
FINAL Comments:
DECISION
Custody Level:
Authorized Signature: Date:

 

 

 

 

 
 

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15.01-6 Doc:
RHODE ISLAND DEPARTMENT OF CORRECTIONS Attachment 4.
INMATE RECLASSIFICATION CUSTODY SCORING FORM Page 1 of 3

NAME:

 

Last First M.L LD D.O.B,
SENTENCED TO: AS OF:

COUNSELOR: DATE:

1. TIME REMAINING TO GOOD TIME RELEASE/PAROLE ELIGIBILITY SCORE “A” OR “B”

A. Non-Lifers
5 Years OF LESS .......sesevcenerecsscreseeersceeensnenescatseessnrscesseeaseaseagantenseseetensecerses
More than 5 years and up fo 10 years ..
More than 10 years and up to 20 years ..
More than 20 years .. a

“an Score

ees
4aiuwo

OR

B. Lifers
Parole eligible by Statute ...........:cccesscesceesnserseseeerseeceeeeecesececeeseseseaeaseense renee
Not parole eligible by Statute ............c:ccceseeseeseeseeeeecee reese ners eeeee eee seeeesceesenies

so

“RB” Score

2. HISTORY OF INSTITUTIONAL VIOLENCE
(Code most serious within last five years)

MODE cvcossenes avdenpespaanessasbsiees kostnEeaneseeiaeeERSeU

Assault and battery not involving w use ¢ of weapon o or

resulting in serious injury .. Reet renee nnee ni nesar reer esrereaareraes

Assault and battery involving 1 use 2 of weapon ‘and/or

resulting in serious injury or death ............ceccseseesee cesses cesaesceeeneeeeneeessersaueneesenae D Score

3. DID ABOVE ASSAULT OCCUR WITHIN THE LAST TWELVE MONTHS?

ow

Score

4, SEVERITY OF CURRENT OFFENSE
(Refer to the Offense Severity Scale. (Score the most serious offense if there are multiple
convictions.)

LOWLY IOUELALS Ueeerersentarettancer tenner ert er enrretet ents tee tentireterreer nt npreetssteracresres
Motherate: <5 5 cccccciecisicsececseceageue cout edad eae bee déa cous aleeeee sania ei

Bw NL

Score

5, PRIOR ASSAULTIVE OFFENSE HISTORY
(Score the most severe in inmate’s history within the last ten years.)

None .. sees
Low/Moderate ..
Moderate ..

ti ug
ApNH SO

Score

6, ESCAPE HISTORY (Score both Categories)
No escapes or attempts (or no prior incarceratioms) .............ccceeseeseeeeeeneeeeeernaneeee O

A. An escape or attempt from Minimum or Community Custody, no actual or

threatened violence:

Over 3 years ago but less than 10 years ..........c0seccesesnesncseesesserssoversseetteenesceoes 1

Se aces Deb ieee aS eee si Sabitpecma wee eaawcexicoeueiusaatearesauaneanmeweseed

Within the last year ... eee ee Score,
 

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RHODE ISLAND DEPARTMENT OF CORRECTIONS Attachment 4
INMATE RECLASSIFICATION CUSTODY SCORING FORM Page 2 of 3

B. An escape or attempt from Medium or above custody, or an escape from Minimum or
Community Custody with actual or threatened violence:

Over 3 years ago, but less than 10 years .......2...-..ccecececee see ceeeeeceeceeeeeeeeeeneeeeeeeed
Over 1 year, but less than 3 years ............ccccecceeseccns senses ceeceneecscetescuseuenteseeas
Within: the last ear occcscciaccccscsssivcascevcavaveucecsacsvscssencaeccteccccsscivvanscasaseresened Score

iy

7, NUMBER OF DISCIPLINARY REPORTS

Wore: last 36 months ssccscis conic csinca od das esvcin sai seca cecewian cases cas ucouud soneebvavuaeeO
One in last 36 MONS oy cicseseinerecseesieivese veo scnvenvaccerscevsbeesian sie neavereensaizeseron 1
Two to four in last 36 months 2.00.0... 0... cc cece sce cee eee eee wee sce eeeeneeesueeeeseereesecseeeed
Five or more in last 36 months ........0:siceseccsceanectseusvaccescevseuseesetsresancsecrecseered Score

8. MOST SEVERE DISCIPLINARY REPORT RECEIVED (last 36 months)

ONE! sis cosacejs tren caccnaseass Bice aschean neo eensencccessedveoescaseTSas eras tons Mea REL ESENSERTERER
Low: Moderate) cc cocsasaccssctessesiianviecinaseia ccs tioentiaiiies avian xine)

a
°
a:

Score

-

PRIOR FELONY CONVICTIONS
(Score prior felonies within last 10 years)

TE WO canis nissanvatnics cab k cae ceawakaes beth we Giesienenaaesv0 CAURDMA EEE kn neRee Sees wekenN eee
THYIE€ OF MOTE 220... ccc cee cesses nee cee cece ceeneneeseesceeceeneeeeeueceeeeeenseeatenteeaeegeeseeee 4 Score
10. AGE

56 30 BE OVER ce secncocesvsevsceswsupeneernssssieeseseaanmics opeatieeserneniaieseereaeneendl
BE ISAO ys viccpeccinsiuaussuaccuussivana sad ucvudiaadansdla cau etaivesisestavideibensiisesstees 1
__ BOW BY sees ices ccvccccesavevesntevcnstuscscnws sivtunseievtnesseveawanvenseecesvicceiaauwaeii Score

Add items 1 through 9
Maximum/High 19+

Medium Custody 9-18 ;
Minimum Custody 0-8 Total Score
Case 1:69-cv-04192-JJM-PAS Document 2-8 Filed 01/31/20 Page 27 of 28 PagelD #: 197

15.01-6 DOC
RHODE ISLAND DEPARTMENT OF CORRECTIONS Attachment 4
INMATE RECLASSIFICATION CUSTODY SCORING FORM Page 3 of 3

 

COUNSELOR’S Instrument Scored Custody Level:
RECOMMENDATION
MANDATORY/POLICY OVERRIDES
C.P. Inmate’s TOTAL SCORE is Minimum/Community Custody score, and has
Pending Felony, ICE, Out-of State Detainer.

 

 

 

 

(Override based on above automatic Medium placement) YES
M.P.O. Meets minimum custody pursuant to policy 15.01-1 DOC YES
Counselor’s signature Date:
DISCRETIONARY OVERRIDE
BOARD’S MED Medical PRO Program Participation
RECOMMENDATION | MEN Mental Health GTR Within 6 months of Good Time Release
PC Protective Custody PRD Granted advance paroled release date
DIR __ Director
Comments:

 

 

 

Board’s Recommended Custody Level:
Chairperson’s Signature: Date:

Next Review Date:

 

 

 

 

 

 

 

 

 

 

 

DIRECTOR’S Custody Level: Approved Denied
DECISION
Comments:
Custody Level:
Authorized Signature: Date:
DISCUSSION OF DENIAL
FINAL
DECISION Discussion Date: Recommendation:
Comments:
Custody Level:

 

Authorized Signature: Date:

 

 

 

 

 
 

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15.01-6 Doc
Classification Review Form Attachment 5
Page 1 of 1
Inmate Name: ID# Date:
Being seen in fora[_]NR [_] Re-Class [-] DG
SRG Level Reason
Serving For
As of (Retro) with a G/T Release Date of

Consecutive/Concurrent Sentence

Pending Charges: Detainer: Out of State Inmate:

Parole Eligibility Date Next Hearing

Parole comments:

Risk Assessment Score of Which Indicates [_] Max [_] Med [_] Min
Prior History: (sentences, downgrades, criminal past)

NCOs

Enemies: [_] N [_] Y (see attached) []NIS_ [_] Level 1 [_] Level 2
[]1sc [] HS [] Max [| Med [|] Min

Last booking received: Discipline Hx:
[_] SA urines [_] Trafficking
[_] C/O Assaults [_] Assault/fighting
Programs - since last classification board:
Enrolled:
Completed:

High School Diploma/GED [_| Yes [_] No

SOTP: M/H:
Job:

Recommendations: [_| HS-C [_] HS-B [_] Max [_] Med [_] Min [.] WR

Counselor Comments:

Counselor Name
